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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE

 7
          ESTHER HOFFMAN, et al.,
 8                             Plaintiffs,
 9            v.                                         C18-1132 TSZ

10        TRANSWORLD SYSTEMS                             MINUTE ORDER
          INCORPORATED, et al.,
11
                               Defendants.
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13        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
14
          (1)  The Parties’ stipulated motion to continue trial and related dates, docket no.
   218, is GRANTED in part and DENIED in part, and the Court issues the following
15
   amended schedule:
16           Discovery on class certification issues completed by     December 30, 2021
17           Any motions related to class certification must be
             filed by                                                 January 12, 2022
18                  and noted on the motion calendar
                    March 18, 2022
19
             Any opposition to motion for class certification
20           must be filed by                                         March 3, 2022

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     MINUTE ORDER - 1
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 1            Plaintiffs’ amended response to Defendant
              Transworld Systems Inc.’s motion for summary
 2            judgment, docket no. 161, must be filed by               February 2, 2022

 3            Disclosure of expert testimony under FRCP 26(a)(2)       February 24, 2022

 4            All motions related to discovery must be filed by        March 14, 2022

              All remaining discovery completed by                     April 11, 2022
 5
         (2)    Defendant Transworld Systems Inc.’s motion for summary judgment,
 6 docket no. 161, is RENOTED to March 18, 2022.

 7        (3)     All other terms and conditions, and all dates and deadlines not inconsistent
   herewith, contained in the Minute Order Setting Trial Date and Related Dates, docket
 8 no. 146, shall remain in full force and effect.

 9          (4)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
10
            Dated this 30th day of November, 2021.
11
                                                     Ravi Subramanian
12                                                   Clerk
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                                                     s/Gail Glass
                                                     Deputy Clerk
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     MINUTE ORDER - 2
